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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                 Judge William J. Martínez

   Civil Action No. 18-cv-1462-WJM-KLM

   JOHN DOE,

         Plaintiff,

   v.

   PHILLIP DISTEFANO, Chancellor for the University of Colorado Boulder, and
   THE BOARD OF REGENTS FOR THE UNIVERSITY OF COLORADO,

         Defendants.


                      ORDER GRANTING PARTIAL MOTION TO DISMISS


         This lawsuit arises out of an investigation by the University of Colorado at

   Boulder (the “University”) into alleged sexual misconduct by Plaintiff John Doe (“Doe”)

   and Doe’s ultimate expulsion from the University as a result of the investigation. (ECF

   No. 11.) Doe brings claims against University Chancellor Phillip DiStefano (“DiStefano”)

   and the Board of Regents for the University (“Board of Regents”) (together,

   “Defendants”) for breach of contract, breach of the implied covenant of good faith and

   fair dealing, estoppel, and violation of due process provisions of the United States

   constitution under 42 U.S.C. § 1983, and seeks a declaratory judgment for alleged

   violations of the due process provisions of the United States and Colorado

   Constitutions. (ECF No. 11 ¶¶ 96–149.)

         Defendants filed a partial motion to dismiss (the “Motion”) Doe’s common law

   contractual claims and his Colorado constitutional claim. (ECF No. 14.) In response,

   Doe withdrew his claims under the Colorado Constitution. (ECF No. 20 at 2.) For the
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   reasons discussed below, the Court dismisses some of Doe’s common law contractual

   claims with prejudice, and some without prejudice.

                                       I. LEGAL STANDARD

          Under Federal Rule of Civil Procedure 12(b)(6), a party may move to dismiss a

   claim in a complaint for “failure to state a claim upon which relief can be granted.” The

   12(b)(6) standard requires the Court to “assume the truth of the plaintiff’s well-pleaded

   factual allegations and view them in the light most favorable to the plaintiff.” Ridge at

   Red Hawk, LLC v. Schneider, 493 F.3d 1174, 1177 (10th Cir. 2007). In ruling on such

   a motion, the dispositive inquiry is “whether the complaint contains ‘enough facts to

   state a claim to relief that is plausible on its face.’” Id. (quoting Bell Atl. Corp. v.

   Twombly, 550 U.S. 544, 570 (2007)). Granting a motion to dismiss “is a harsh remedy

   which must be cautiously studied, not only to effectuate the spirit of the liberal rules of

   pleading but also to protect the interests of justice.” Dias v. City & Cnty. of Denver, 567

   F.3d 1169, 1178 (10th Cir. 2009) (internal quotation marks omitted). “Thus, ‘a well-

   pleaded complaint may proceed even if it strikes a savvy judge that actual proof of

   those facts is improbable, and that a recovery is very remote and unlikely.’” Id. (quoting

   Twombly, 550 U.S. at 556).

                                         II. BACKGROUND

          The Court assumes the following to be true for purposes of Defendants’ Motion.

   A.     Investigation & Expulsion

          As of April 2016, Plaintiff was a student at the University and a member of the

   Phi Kappa Psi fraternity. (ECF No. 11 ¶¶ 1, 60.) In early April 2016, a female



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   undergraduate student (“Complainant”) attended a party at the Phi Kappa Psi house

   and thereafter reported to officers of the Boulder Police Department (“BPD”) that she

   had possibly been drugged and had sex that she did not remember with someone,

   whom she later identified as Doe. (Id. ¶¶ 63–69.)1 On April 11, 2016, the BPD reported

   allegations of possible drugging and sexual assault of Complainant to the University’s

   Office of Institutional Equity and Compliance (“OIEC”). (Id. ¶ 70.)2

          In late September 2016, OIEC obtained a redacted copy of the BPD report. (Id.

   ¶ 73.) On September 30, 2016, OIEC issued a Notice of Investigation to Doe alleging

   sexual misconduct with Complainant in violation of Section G2 of OIEC’s rules. (Id.

   ¶ 75.) OIEC investigated the allegations by speaking with 23 witnesses and reviewing

   documentation in the form of text messages, a video, materials and information from

   the investigation by the BPD and Boulder County District Attorney, and an examination

   by a Sex Assault Nurse Examiner. (Id. ¶ 79.) On January 24, 2017, OIEC produced a

   final report that concluded that it was “more likely than not” that Doe engaged in

   nonconsensual sexual intercourse with Complainant. (Id. ¶¶ 84, 85.h.) As a result of

   these findings, the University expelled Doe in February 2017. (Id. ¶ 1.)

   B.     The University’s Policies

          Consistent with its Title IX obligations, the University has adopted policies and

   procedures for investigating and adjudicating alleged sexual misconduct. (Id. ¶ 52;


          1
           It is unclear exactly when the party occurred. The dates in the Amended Complaint
   suggest that the party was held from April 2–3 or April 3–4, 2016. (ECF No. 11 ¶¶ 62, 69.b.)
          2
            Here, too, the timeline is unclear. The Amended Complaint states that OIEC received
   the report about “the April 13, 2016, allegations” on April 11, 2016, a factual impossibility. (ECF
   No. 11 ¶ 70.)

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   ECF Nos. 11-1 (Process and Procedures 2015–2016, ef fective July 1, 2015) & 11-2

   (Process and Procedures 2016–2017, effective July 1, 2016).) These documents set

   forth prohibited conduct, the investigatory process, and disciplinary actions for engaging

   in prohibited conduct. (ECF No. 11 ¶¶ 53–59.)

         The cover page of Process and Procedures 2015–2016 (“2015–2016 Policy ”)

   states that it is an “interim document and any material changes shall be published on or

   before January 1, 2016.” (ECF No. 11-1 at 1.) The cover page of Process and

   Procedures 2016–2017 (“2016–2017 Policy”) states that the document is “intended to

   provide general information to members of the university community” and “is not

   intended to, nor does it, create a contract between the OIEC or [the University] and

   community members.” (ECF No. 11-2 at 1.)

         The Amended Complaint does not state which of the two policies applies, or

   whether any “material changes” to the 2015–2016 Policy were published before

   January 1, 2016. Doe’s response to the Motion states that OIEC em ployed the

   procedures listed in the 2016–2017 Policy in its investigation of Doe, although Doe

   contends that OIEC should have used the 2015–2016 Policy. (ECF No. 20 at 5.)

   Throughout the Amended Complaint, Doe jointly refers to the two policies as “OIEC

   Process,” and does not distinguish between them. (ECF No. 11 ¶¶ 53–56.)

                                        III. ANALYSIS

   A.    Breach of Contract (Claim IV) and Breach of Implied Covenant of Good
         Faith (Claim V)

         Doe appears to allege three bases for his breach of contract claim: Article I of

   the Law of the Regents and the two OIEC policies. The Court will address each in turn.


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            Under Colorado law, a party attempting to recover on a claim for breach of

   contract must prove the existence of a contract. W. Distrib. Co. v. Diodosio, 841 P.2d

   1053, 1058 (Colo. 1992). Thus, if the Court finds that no valid contract existed between

   the parties, Plaintiff’s claim for breach of contract will fail.

            Policies promulgated in a manual or guidance document by an institution can,

   under some circumstances, form the basis for claims of breach of implied contract or

   promissary estoppel. See Adams Cnty. Sch. Dist. No. 50 v. Dickey, 791 P.2d 688, 695

   (Colo. 1990). While such claims frequently arise in the employment context, courts

   have applied the same principles to university policies governing student conduct and

   disciplinary proceedings. See, e.g., Neal v. Colo. State Univ.-Pueblo, 2017 WL

   633045, at *26 (D. Colo. Feb. 16, 2017). An individual seeking to establish that a

   manual or policy guide resulted in a contract must establish that the writer’s actions

   “manifested to a reasonable person an intent to be bound by the provisions of the

   manual or handbook.” Geras v. Int’l Bus. Mach. Corp., 726 F. Supp. 2d 1292, 1296 (D.

   Colo. 2010); Peru v. T-Mobile USA, Inc., 897 F. Supp. 2d 1078, 1086–87 (D. Colo.

   2012).

            “[A] conspicuous and unambiguous disclaimer refutes any implied contract

   obligations.” Sidlo v. MillerCoors, LLC, 718 F. App’x 718, 730 (10th Cir. 2018). To

   determine whether a disclaimer is clear, Colorado courts consider, among other more

   employment-specific factors, whether the policy is labeled, where the disclaimer

   appears in the document, and whether the policy is signed by the parties. Id. (citing

   Winkler v. Bowlmor AMF, 207 F. Supp. 3d 1185, 1190 (D. Colo. 2016)).



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          Vague policy pronouncements in policy documents are usually an insufficient

   basis for a breach of contract claim. Belgasem v. Water Pik Tech., Inc., 457 F. Supp.

   2d 1205, 1220 (D. Colo. 2006). “General commitments to equal opportunity and

   fairness . . . are too vague to be legally enforceable.” Id.; see CenCor, Inc. v. Tolman,

   868 P.2d 396, 398 (Colo. 1994) (“Contract claims that in fact attack the general quality

   of educational experiences provided to students have generally been rejected.”). For

   example, in Belgasem, the court found that general policy pronouncements of the

   company’s values were not enforceable, but language urging employees to report

   violations and guaranteeing non-retaliation was sufficiently definite. Belgasem, 457 F.

   Supp. 2d at 1220.

          1.      Article I of the Laws of the Regents

          Doe contends that the University failed to comply with Article I of the Law of

   Regents by failing to, among other things, act in good faith, “communicate ethical

   standards of conduct through instruction and example,” fulfill obligations to provide

   notice and due process, be “personally accountable for individual actions such as

   overriding the Complainant’s request for privacy,” or permit a fair inspection of

   investigative records. (ECF No. 11 ¶ 132.b.)

          The University moves to dismiss the allegations that it failed to comply with

   Article I of the Law of Regents because the alleged failures of the University to be “fair,

   unbiased, equitable, ethical, or the like, these aspirations are too vague to form

   contracts.” (ECF No. 14 at 6 (internal quotation marks omitted).) Doe does not

   respond to the University’s argument, and thus it is effectively conceded for purposes of

   this motion.

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         Moreover, while the text of Article I of the Law of Regents is not before the Court,

   general commitments to fairness and other ethical aspirations are generally too vague

   to be legally enforceable. See Belgasem, 457 F. Supp. 2d at 1220. Doe’s own wording

   of his breach of contract claim based on the Law of Regents suggests that he attempts

   to enforce assurances that are too vague to form the basis of a contract. (ECF No. 11

   ¶ 132.b.) In addition, Doe has not provided any facts to support a claim that the Law of

   Regents forms a contract between the University and Doe. Given the complete lack of

   allegations as to the existence of a contract, and the suggested vague and aspirational

   nature of the commitments in such a contract (if any), the Court dismisses Doe’s

   contract claim based on the Law of Regents without prejudice.

         2.     2016–2017 Policy

         Defendants contend that the 2016–2017 Policy was not a contract and therefore

   Doe’s breach of contract claim should be dismissed. (ECF No. 15 at 5.) The

   2016–2017 Policy contains an explicit disclaimer on the cover page that it “is not

   intended to, nor does it, create a contract” between the University and community

   members. (ECF No. 11-2 at 1.) See Sidlo, 718 F. App’x at 730 (“conspicuous and

   unambiguous disclaimer refutes any implied contract obligations”). Doe does not

   suggest that he signed the 2016–2017 Policy. See id. Considering the factors set forth

   in Sidlo and Winkler, the Court concludes that the 2016–2017 Policy contained an

   explicit disclaimer and could not reasonably be understood as a contract between the

   University and Doe. See Sidlo, 718 F. App’x at 730; Winkler, 207 F. Supp. 3d at 1190.

   Therefore, the 2016–2017 Policy cannot form the basis of a contract claim. The Court

   therefore dismisses the breach of contract claim, and corresponding breach of implied

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   covenant of good faith and fair dealing claim, based on the 2016–2017 Policy. See

   Carnation Bldg. Servs., Inc. v. City & Cny. of Denver, 2011 WL 6940474, at *5 (D. Colo.

   Dec. 29, 2011) (dismissing a breach of good faith and fair dealing claim where no valid

   contract existed).

          3.     2015–2016 Policy

          Defendants also contend that the 2015–2016 Policy was not a contract and

   therefore Doe’s breach of contract claim should be dismissed. (ECF No. 15 at 5.)

   However, the 2015–2016 Policy does not contain the same express disclaimer

   language as the 2016–2017 Policy. Instead, the 2015–2016 Policy cover page states

   that it is an “interim document and any material changes shall be published on or before

   January 1, 2016.” (ECF No. 11-1 at 1.) Defendants do not cite any cases or attempt to

   explain how labeling a policy as “interim” is a “conspicuous and unambiguous”

   disclaimer of implied contractual rights. Absent an express disclaimer, Doe has stated

   a plausible claim that the 2015–2016 Policy was a contract between the University and

   Doe. See Neal, 2017 WL 633045, at *26.

          However, that conclusion does not end the Court’s analysis. Reviewing the

   Amended Complaint, Doe has not plausibly pled a breach of the 2015–2016 Policy.

   Doe’s Amended Complaint does not distinguish between his breach of contract claims

   under either policy, or explain why either or both of the OIEC policies apply to his

   claims. In addition, the attachments to the Amended Complaint and Doe’s response to

   the Motion make clear that the 2016–2017 Policy governed the procedures that applied

   to OIEC’s investigation, while the 2015–2016 Policy governed the substantive policy.

   (ECF No. 20 at 5; ECF No. 11-7 at 1, 44.) See Fed. R. Civ. P. 10(c) (“A copy of a

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   written instrument that is an exhibit to a pleading is a part of the pleading for all

   purposes.”).

          Doe’s allegations center on violations of vague commitments to ethical conduct

   and procedural deficiencies. (ECF No. 11 ¶¶ 132–36; ECF No. 20 at 3, 9.) As

   discussed above, violations of vague aspirational commitments to fair or ethical conduct

   are not sufficiently definite to be legally enforceable. See Belgasem, 457 F. Supp. 2d at

   1220. In addition, the 2016–2017 Policy—which, as discussed above, is not a

   contract— governed the procedural aspects of the investigation now challenged by

   Doe. Doe does not identify any breach of the substantive provisions of the 2015–2016

   Policy, or plead any facts to support a claim that OIEC applied the wrong procedural

   policy. Absent any such allegations, Doe fails to plausibly plead that the 2015–2016

   Policy applies to his claims, and ipso facto he fails to plead a breach of the 2015–2016

   Policy, or of an implied covenant of good faith and fair dealing based on that policy.

   Ridge at Red Hawk, 493 F.3d at 1177. The Court thus dismisses Doe’s breach of

   contract claim and breach of good faith and fair dealing claim based on the 2015–2016

   Policy without prejudice.

   B.     Promissory Estoppel

          In Colorado, a promissory estoppel claim requires: “(1) a promise; (2) that the

   promisor reasonably should have expected would induce action or forbearance by the

   promisee or a third party; (3) on which the promisee or third party reasonably and

   detrimentally relied; and (4) that must be enforced in order to prevent injustice.”

   Pinnacol Assurance v. Hoff, 375 P.3d 1214, 1221 (Colo. 2016). “W here these



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   elements are present, a promise becomes binding and may be enforced through the

   normal remedies available under contract law.” Id. A policy document can form the

   basis for a promissory estoppel claim. Trujillo v. Atmos Energy Corp., 896 F. Supp. 2d

   949, 955 (D. Colo. 2012); Winkler, 207 F. Supp. 3d at 1190–91. If a policy contains a

   disclaimer of a contractual relationship, an individual cannot reasonably rely on the

   policies therein to form the basis of a promissory estoppel claim. Winkler, 207 F. Supp.

   3d at 1190–91. In addition, vague promises in a policy cannot form the basis for a

   promissory estoppel claim. Neal, 2017 WL 633045, at *27.

         Doe appears to plead that the University promised that Doe would “not suffer [ ]

   harassment by fellow students.” (ECF No. 11 ¶ 145.) Doe has not, however, alleged

   that any student in fact ever harassed him. He thus has not plausibly alleged that he

   detrimentally relied on any such promise by the University.

         Doe also alleges that the University promised that it would not deny Doe his

   procedural rights if accused of a violation of University policy. (Id.) Defendants argue

   that Doe has failed to identify any unambiguous promise to support a promissory

   estoppel claim. (ECF No. 14 at 9–10.) In response, Doe summarily argues that “[the

   University] has done so.” (ECF No. 20 at 10.)

         While Doe does not specifically identify the policies, taking the facts in the light

   most favorable to Doe, the Court assumes that Doe intends to reference the OIEC

   policies. See Ridge at Red Hawk, LLC, 493 F.3d at 1177. Because the 2016–2017

   Policy had a clear disclaimer, it cannot form the basis for Doe’s promissory estoppel

   claim against Defendants. See Winkler, 207 F. Supp. 3d at 1190–91. As f or the



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   2015–2016 Policy, Doe fails to plead that the University violated any particular promise

   on which Doe relied, nor has Doe addressed how enforcing any promise would prevent

   injustice. See Pinnacol Assurance, 375 P.3d at 1221. The Court thus dismisses Doe’s

   promissory estoppel claim based on the 2016–2017 Policy with prejudice and the claim

   based on the 2015–2016 Policy or any other policy without prejudice.

                                        IV. CONCLUSION

             For the foregoing reasons, Defendants’ Partial Motion to Dismiss (ECF No. 14) is

   GRANTED WITH PREJUDICE as to all claims based on the 2016–2017 Policy, and

   GRANTED WITHOUT PREJUDICE as to all contractual claims based on any other

   policy.


             Dated this 19th day of March, 2019.

                                                        BY THE COURT:



                                                        _______________________
                                                        William J. Martínez
                                                        United States District Judge




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